STATE OF TENNESSEE
Department of Commerce and lnsurance
500 James Robertson Parkway
Nashvi!le, TN 37243-'1131
PH - 615.532.5260, F)( - 615.532.2788
Jerald.E.Gilhert@tn.gov

duty 25, 2012

State Auto insurance Company Certified Mai|

100 State Auto Boutevard Retum Receipt Reouested
Goodtettsv§l|e, TN 37072 7011 2970 0003 4363 5548
NAEC # 2919 Cashier # 4381

Re: Kristcpher R. And Carie Majors V. Stste Autc Insurance Company

Docket # 2912-CV~’1879-CV

To Whom tt May Concern:

_Pursuant to Tennessee Ccde Annotated § 56-2-504 or § 56-2-506, the Department of
Comrnerce and insurance was served duly 25, 2012, on your behalf in connection with the
above-styled proceeding Documentatton relating to the subject is herein enclosed

Jeratd E. Gitbert
Designated Agent n n` nw
Service of Process 331 s ., L-

Enctosures 1\ ' ____i

oct Circuit Court C|erk
Franktin County
360 Wi|ton Circ!e, Room 157
Winchester, Tn 37398-2641

  

Case 4:12-cV-00058-HSI\/|-WBC Document 1-2 Filed 08/24/12 Page 1 of 3

 

CIRCUIT COURT SUMMONS ` FRANKLIN COUNTY, TENNESSEE

 

STATE on TENNESSEE . _ _
CoUNTY on FRANKLIN ‘=;lb\‘°~ ' 9 V'
FILE NO. §§ "i“'l 4 ~Cv

KRISTOPHER R. MAJORS and wife. CARIE MAJORS.

Plaintiff
VS.
STATE AU'I`O INSURANCE COMPANY

Defendant

To 'l`he Abovc Named Dcfend nnt: STATE AUTO INSURANCE COMPANY
ci'o COMMISSIONER OF INSURANCE

Yon nrc summoned to appear and defend the A’I"I`ACHEI) civil action filed against you in CIRCUIT
Court, FRANKLIN County, Tennessec, and your defense must be made within thirty (30) days from the date
this summons is served upon you. You are further directed to file your defense with the Cieric of the Conrt
and send a copy to the PiaintifPs attorney at the address listed below.

In case of your failure to defend this action by the above date, judgment by default will be rendered
against you for the relief demanded in thc Con\piaint.

 

Cierk

 

 

 

 

 

rn 11 2 FRANI(LIN Courliy, Tenn:ssee 7
ISSUED: , 20\_.
By: 'Ri/U`Ub'€» QM'“N‘"
Deputy Cterk

A’I"I`ORNEY FOR PLAINTIFF: JER`RE M. HO OD

OR 124 ]st. Ave. NW

Address
PLAINTIFF’S ADDRESS Wirlch€$€el°\ TN 37398
NOTICE

TO 'I`HE DEFENDANT(S): 5
TENNESSEE LAW PROVIDES A l"`OUR 'I`HOUSAND DOLLAR {34, 000. |}lJ) PERSONAL PROPERTY EXEMPTION !
FROM EXECUTION OR SEIZURE TO SATISFY A JUDGMENT. lF A JUDGMENT SHOULD BE ENTERED

AGAINST YOU lN THIS ACTION AND Y()U WISH TO CLAIM PROPERTY AS EXEMPT, YOU MUST FILE A

WRITTEN LIST, UNI)ER OATH, OF THE ITEMS YOU WISH TO CLAIM AS EXEMPT WITH THE CLERK OF

'I`HE COURT. ’I`HE LIST MAY BE FILED AT ANY TIME AND MAY BE CHANGED BY YOU THEREAFTER AS

NECESSARY; HO\VEVER, UNLESS I'I’ IS FILED BEFORE TI'IE JUDGMENT BECOMES FINAL, I‘I` WIIJL NOTE

BE EFFEC‘I`IVE AS T() ANY EXECUTION OR GARNISHMENT ISSUED PRIOR 'I`O 'l`HE FILlNG OF THE LIS'I`.

CERTAIN lTEMS ARE AUTOMATICALLY EXEMPT BY LAW AND DO NOT NEED TO BE LISTED; THESE

INCLUDE ITEMS OF NECESSARY \VEARING APPAREL FOR YOURSELF AND YOUR FAMILY AND TRUNKS

OR O'I`HER RECEPTACLES NECESSARY ‘I`O CONTA¥N SUCH APPAREL, FAMILY POR'I`IU\ITS, THE FAMILY

BIBLE, AND SCHOOL BOOKS. SHOULD ANY OF THESE I'I`EMS BE SEIZED YOU \VOULD HAVE THE RIGHT

TO RECOVER THEM IF YOU DO NO'I` UNDERSTAND YOUR EXEMP'I`ION RlGHT OR HOW TO EXERCISE IT,

YOU MAY WISH TO SEEK THE COUNSEL OF A LAWYER (T. C A. 26-2~»114. )

 

 

 

 

TO THE SHER¥FF:
Please execute this Sunnnons and make your return hereon as provided by Iaw.
Clerl<
Received this summons for service this day ot' , 20___
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IN ’I`HE CIRCUI‘I` COURT ()F FRANKLIN CGUNTY. TENNESSEE

KRISTOPHER R. MAJORS and wife, ]
CARIE MAJORS,
Plaintiffs, ]
Vs ] Case No.&{zli;l.:'C/\/- li'§ ")"°1 \
Jury Demand
STATE AUTO INSURANCE COMPANY, ]
Defendan t. } §§§\:§~-_ -r§ 5 111 I;Z,`;
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Comcs now the plaintiffs and for their Compiaint would show unto the Court as
follows:

i. Pia`mtiffs, Kristopher R. Majors and wife, Carie Maj ors, are the owners of
certain rest property located at 2032 Manst`ord Road, Winchester, Franklin County,
Tenncssee, 373§8, deeded to the plaintiffs by deed of record in Deed Book 298, Page
387, Registcr’s foice of Franklin County, ’i`ennessee, to which reference is herein made
for more particulars

2. Det`endant, State Auto lnsnrance Company, is a duly organized insurance
company doing business in the State of Tcnncsscc.

3. On or about February 24, 2011 plaintiffs suffered a fire loss at their home
located at the aforesaid 2032 Mansford Road, Winchester, Tcnnessee. ’i"he home Was
severely damaged as a result of the fire together With water damage from the fire
department during the extinguishing ofthe fire. Piaintit`fs also Suffcrcd the loss their

pcrsonai property in the residence

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4. At the time of the tire loss the plaintiffs Were insured With the defendants
under Policy Numi)er HT 0035719. Plaintiffs have made due demand upon the
defendant to pay the damage to the improvements located on the real property referenced
above but the defendant wrongfully and in bad faith refuses to properly compensate the
plaintiffs for the amount of the loss and damage to the residence referenced above. As a
result of the dilatory tactics of the defendant the plaintiffs Were compelled to retain the
services of an adjusting company known as First Call, Inc., located at 608 West Iris
Drive, Nashville, Tennessee, 37204, to assist them in handling their fire loss claim. With
the assistance of First Call, Inc., plaintiffs Were able to eventually settle the personal
property claims that the defendant wrongfully and in bad faith continues to stonewali
with regard to the damage to the residence itself

5. Plaintiffs have obtained repair estimates for the dwelling itself in the amount
of 391 ,489.'?1 which excludes repair to the roof, electrical wiring and the air conditioning
and heating system. Plaintiffs would show at the trial of this cause that the defendant has
Wrongfuily dealt in bad faith With the plaintiffs with regard to a loss that is now weil over
one year old. Plaintiffs allege that they would be entitled to recover the bad faith penalty
as provided under I.C_.A_. 56-7-105, together with the damages as hereinabove

referenced

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6. Plaintiffs would farther show unto the Court as further evidence of the
defendant’s bad faith that the defendant insurance company has cut off their additional
living expenses, knowing full Weli that the plaintiffs can no longer pay rental expenses on
a place to live for them and their minor child and continue to make house payments on a
house that they cannot use.

7. Plaintiffs wouid show unto the Court that Citi Mortgage is the lien holder on
the property in question and that they would be entitled to be named as a party in interest
as a result of their lien on the residence

WHEREFORE, Plaintift`s sues the defendant for damages for breach of contract
in the amount of $91,439,71 for general repair to the residence, together with an
additionai $12,000.00 for estimated roof, electrical and heating and air repair and/or
replacement, together with punitive damages for bad faith as provided under T_(Et_ 56-?-
l05, together with the plaintiffs’ reasonable attorney fees, and demands a jury to try the
issues when joined

Respectfully submitted

\Mct /?/%7/%<§@

JéRl}lE M HOOD~ #4669
A orney for Plaintiffs

156 1$* Ave. Nw
Winchester, TN 37398
(931) 96?~0838

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KRISTOPHER R. MAJORS

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CAR]E MAIORS ._,l

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STATE OF TENNESSEE
COUNTY OP FRANKLIN

KRISTPHER R. i\/IAJORS and wit`e, CARIE MAJORS, make oath and state that
they have read the foregoing Complaint and that the statements made therein are true and
correct to the best of their knowledge information and belief and that they are justly
entitled to the relief requested therein

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KRISTOPHER R. MAJORS

 

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Majors.Coranaint

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IN THE CIRCUIT COURT OF FRANKLIN COUNTY, TENNESSEE

KRISTOPHER R. MAJORS and Wit'e, ]
CARIE MAJORS,
Plaintifi"s, l
Vs ] Case No.
Jury Demand
STATE AUTO INSURANCE COMPANY, ]
Defendant. l
COMPLAINT

 

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severely damaged as a result of the tire together with Water damage from the fire
department during the extinguishing of the frre. Plaintiffs also suffered the loss their

personal property in the residence

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S'I`ATE OF TENNESSEE
COUNTY OP FRANKLIN

KRISTPHER R\ MAIORS and wife, CARIE MAJORS, make oath and state that
they have read the foregoing Cornplaint and that the statements made therein are true and
correct to the best oftheir kuovvledge, information and belief and that they are justly
entitled to the relief requested therein

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KRISTOPHER R. MAJORS

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CARIE MAIORS l_l
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Majors.Complaint

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